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                 IN THE UNITED STATES DISTRICT COURT FOR THE
                        NORTHERN DISTRICT OF FLORIDA
                             GAINESVILLE DIVISION

UNITED STATES OF AMERICA,

                            Plaintiff,

v.                                                   CASE NO: 1:05cr40-SPM

JUAN JESUS GOMEZ, et al,

                         Defendant.
                                                /

                        PRELIMINARY ORDER OF FORFEITURE

       THIS CAUSE IS before the Court on the motion of the United States of America for a

Preliminary Order of Forfeiture. Being fully advised in the premises, the Court finds:

       1.      On November 15, 2005, a Federal Grand Jury sitting in the

Northern District of Florida issued a Superceding Indictment against Defendant.

       2.      The Indictment charged Defendant with violations of Title 21, United States

Code, Sections 841 and 846, and Title 18, United States Code, Section 2.

       3.      The Indictment included a Forfeiture Count, pursuant to Title 21, United

States Code, Section 853.

       4.      On August 24, 2006, the Defendant entered into a Plea And Cooperation

Agreement in which he agreed to forfeit to the United States of America all forfeitable assets.

As such, Defendant agreed to forfeit his interest in the following:
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               Real Property, including all improvements thereon and appurtenances
               thereto, located at 1640 NW 19th Street, Homestead, Florida, more
               particularly described in Exhibit A.

        ORDERED, ADJUDGED and DECREED that based on the foregoing, the

Defendant’s interest in the above property is hereby forfeited to the United States pursuant to the

provisions of Title 21 United States Code, Section 853:

        ORDERED, ADJUDGED and DECREED that in accordance with the law, the United

States shall cause to be published at least once, in a newspaper of general circulation, notice of this

Order, notice of its intent to dispose of the property in such manner as the Attorney General may

direct, and notice that any person, other than the defendant, having or claiming a legal interest in the

aforementioned property must file a petition with the Court within thirty (30) days of the final

publication of the notice or receipt of actual notice, whichever is earlier. The United States shall:

        1.      State in the notice that the petition shall be for a hearing to adjudicate the validity of

the petitioner's alleged interest in the property, shall be signed by the petitioner under penalty of

perjury, and shall set forth the nature and extent of the petitioner's right, title and interest in the

forfeited property and any additional facts supporting the petitioner's claim and the relief sought;

and

        2.      To the extent practicable, provide direct written notice to any person known to have

an alleged interest in the property that is subject of the Preliminary Order of Forfeiture, as a

substitute for published notice as to those persons so notified. It is further




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       ORDERED, ADJUDGED and DECREED that upon adjudication of all third party

interests, this Court will enter a Final Order in which all interests will be addressed.

       DONE AND ORDERED this 8th day of January, 2007, at Gainesville, Florida.


                                                  s/ Stephan P. Mickle
                                               Stephan P. Mickle
                                               United States District Judge




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